       Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 1 of 13                       FILED
                                                                                   2018 Oct-29 PM 02:22
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

MICHAEL BARNES, as the personal )
representative of the estate of Gabriel )
Sage Barnes,                            )
                                        )
      Plaintiff,                        )
                                        )
v.                                      ) Civil Action Number: 5:18-cv-929-MHH
                                        )
BRYAN SMITH,                            )
                                        )
      Defendant.                        )

           ANSWER OF DEFENDANT OFFICER BRYAN SMITH
                 TO FIRST AMENDED COMPLAINT

      For answer to the first amended complaint of plaintiff Michael Barnes

(“plaintiff”), as personal representative of the estate of Gabriel Sage Barnes

(“Barnes”), defendant Officer Bryan Smith (“Officer Smith”) states as follows:

                                      PARTIES

      1.     Plaintiff’s assertion that he brings this suit pursuant to section 6-5-410

of the Alabama Code does not require a response from Officer Smith, but Officer

Smith denies he is liable to plaintiff under that statute or otherwise. Officer Smith

is without sufficient information to admit or deny the remaining allegations

contained in paragraph one of the first amended complaint. Accordingly, he must

deny same. Officer Smith is without sufficient information to admit or deny that

plaintiff has the authority to bring this or any other action on behalf of the estate of
       Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 2 of 13




Barnes. Accordingly, he must deny same and he demands strict proof that plaintiff

has been properly appointed as the personal representative of the estate of Barnes.

      2.     The statement that plaintiff is suing Officer Smith in his individual

capacity does not require a response from Officer Smith, but Officer Smith denies

that he is liable to plaintiff in any capacity. Officer Smith admits the remaining

allegations of paragraph two of the first amended complaint.

                                      FACTS

      3.     Officer Smith admits that Barnes was in Alabama on July 7, 2017.

Officer Smith is without sufficient information to admit or deny the remaining

allegations contained in paragraph three of the first amended complaint.

Accordingly, he must deny same.

      4.     Officer Smith admits that Barnes took a 2010 Mustang that was

reported as stolen. Officer Smith is without sufficient information to admit or deny

the remaining allegations contained in paragraph four of the first amended

complaint. Accordingly, he must deny same.

      5.     Officer Smith admits that someone reported a 2010 Mustang as stolen.

Officer Smith is without sufficient information to admit or deny the remaining

allegations contained in paragraph five of the first amended complaint.

Accordingly, he must deny same.




                                         2
       Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 3 of 13




      6.     Officer Smith admits that Priceville police attempted to stop Barnes as

he traveled on I-65 and pursued him after he refused to stop. Officer Smith is

without sufficient information to admit or deny the remaining allegations contained

in paragraph six of the first amended complaint. Accordingly, he must deny same.

      7. – 9. Admit.

      10.    Officer Smith admits that no one expressly claimed Barnes was

carrying a weapon, other than the vehicle itself, which Barnes did use to try to

injure law enforcement officers during the pursuit.

      11.    Officer Smith admits that Barnes was speeding on the interstate and

took the Bob Wallace exit off of I-565. Officer Smith is without sufficient

information to admit or deny the remaining allegations contained in paragraph

eleven of the first amended complaint. Accordingly, he must deny same.

      12.    Officer Smith admits that Barnes slowed somewhat as he approached

the Bob Wallace access road, and Officer Smith received authorization to conduct

a slow-speed PIT maneuver. Officer Smith further admits that he struck the rear of

the Mustang in the bumper, but denies striking the rear driver’s side. .

      13.    Officer Smith admits that the PIT maneuver was successful in

bringing the Mustang to a very brief stop or near stop and that Barnes drove over a

concrete median. Officer Smith is without sufficient information to admit or deny




                                          3
         Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 4 of 13




the remaining allegations contained in paragraph thirteen of the first amended

complaint. Accordingly, he must deny same.

        14.   Officer Smith denies that the Mustang “collided” with the median and

that the rim on the front left tire of the Mustang was destroyed. Officer Smith is

without sufficient information to admit or deny the remaining allegations contained

in paragraph fourteen of the first amended complaint. Accordingly, he must deny

same.

        15.   Officer Smith admits that, at some point after the PIT maneuver, the

driver’s side and steering wheel airbags deployed in the Mustang, but Officer

Smith does not know precisely when that occurred and does not recall noticing that

they had deployed at the time.

        16.   Officer Smith denies that a collision with a median rendered the

Mustang undriveable. Officer Smith admits that the Mustang hit an SUV and then

a pickup truck on the other side of a concrete median, and very briefly came to a

stop or near stop after hitting the truck.

        17.   Officer Smith admits that he observed the Mustang drive over the

concrete median and very briefly come to a stop or a near stop, after striking the

pickup truck. Officer Smith denies the allegation that the Mustang “collided” with

the concrete median.

        18. -19.    Deny.

                                             4
       Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 5 of 13




      20.    Officer Smith admits, after the PIT maneuver, his vehicle’s

momentum carried it forward, roughly parallel with the Mustang, and the vehicle

came to a stop along the right side of the Mustang, after the Mustang struck an

SUV and then a pickup truck. Officer Smith further admits that, once his vehicle

came to a stop, he opened his door and stepped out of the vehicle. Officer Smith

denies the remaining allegations contained in paragraph twenty of the first

amended complaint.

      21.    Deny.

      22.    Officer Smith admits that he could see the airbag on the Mustang had

deployed, but only after freeing himself from being pinned against his own vehicle

as Barnes attempted to go backwards in the Mustang, and then only after he moved

along the driver’s side of the Mustang to order Barnes out of the vehicle.

      23. – 24.      Deny.

      25.    Officer Smith denies issuing any public statements through Police

Chief Rick Williams as described in paragraph twenty-five of the first amended

complaint. Officer Smith admits that Police Chief Rick Williams made a public

statement that Barnes tried to back the Mustang into Officer Smith, and Officer

Smith only shot because he was being crushed. Officer Smith denies that the

statement by Police Chief Rick Williams was false.

      26.    Deny.

                                         5
       Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 6 of 13




              COUNT I – 42 U.S.C. § 1983 – EXCESSIVE FORCE

      27.    Officer Smith denies the averments in paragraph twenty-seven of the

first amended complaint. The footnote to paragraph twenty-seven of the first

amended complaint does not require a response from Officer Smith, as it merely

clarifies the nature of the claim being asserted.

      28.    Deny.

                             COUNT II – STATE LAW –

                  ASSAULT & BATTERY / EXCESSIVE FORCE

      29.    Admit.

      30. – 31.      Deny.

                                OTHER MATTERS

      32.    Officer Smith is without sufficient information to admit or deny that

plaintiff has been appointed as the personal representative of the estate of Barnes,

which is a condition precedent to plaintiff filing a wrongful death action under

section 6-5-410 of the Alabama Code. Accordingly, Officer Smith must deny that

all conditions precedent to the bringing of this suit have occurred, and he demands

strict proof that plaintiff has been properly appointed as the personal representative

of the estate of Barnes. Officer Smith is otherwise without sufficient information

to admit or deny the allegations contained in paragraph thirty-two of the first

amended complaint. Accordingly, he must deny same.

                                           6
       Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 7 of 13




                                RELIEF SOUGHT

      33 a. – e.   Officer Smith denies plaintiff is entitled to any relief sought by

him and any damages, of whatever nature, against Officer Smith.

                           ADDITIONAL DEFENSES

                            First Affirmative Defense

      Some or all of plaintiff’s claims fail to state a claim against Officer Smith

upon which relief can be granted.

                           Second Affirmative Defense

      Plaintiff is not entitled to any judgment against Officer Smith, and plaintiff

is not entitled to recover any damages, costs, attorneys’ fees, or any other relief

whatsoever from Officer Smith.

                            Third Affirmative Defense

      To the extent that plaintiff has suffered any legally cognizable damage or

injury, such damage or injury was caused by, and is the responsibility of,

individuals and/or entities other than Officer Smith.

                           Fourth Affirmative Defense

      All of Officer Smith’s actions or omissions with respect to the matters at

issue in this case were reasonable, necessary, legally protected, and justified under

the circumstances. Therefore, Officer Smith has no liability to plaintiff.




                                          7
       Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 8 of 13




                               Fifth Affirmative Defense

      No action or omission of Officer Smith was the proximate cause of

plaintiff’s alleged damages.

                               Sixth Affirmative Defense

      Plaintiff cannot establish a prima facie case of excessive force, assault, or

battery.

                            Seventh Affirmative Defense

      Plaintiff’s state-law claim for excessive force is barred because Alabama law

does not recognize any such cause of action.

                            Eighth Affirmative Defense

      As to his state-law claims, plaintiff may not recover damages from Officer

Smith under Alabama law in excess of the statutory damage cap contained in

section 11-47-190 of the Alabama Code.

                             Ninth Affirmative Defense

      Officer Smith is immune from any liability to plaintiff.

                             Tenth Affirmative Defense

      Some or all of plaintiff’s claims are barred because Officer Smith acted in

good faith, with due care and without malice, and in conformity with all applicable

rules, regulations, constitutional provisions, decisional authorities, procedures,

statutes, and statutory interpretations.

                                           8
       Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 9 of 13




                          Eleventh Affirmative Defense

      All uses of force by Officer Smith with regard to the matters at issue in this

case were justified by the doctrine of self-defense.

                           Twelfth Affirmative Defense

      Some or all of plaintiff’s claims under 42 U.S.C. § 1983 against Officer

Smith are barred by the doctrine of qualified immunity.

                         Thirteenth Affirmative Defense

      Some or all of plaintiff’s state-law claims are barred by the doctrine of

discretionary-function immunity, now referred to as state-agent immunity.

                         Fourteenth Affirmative Defense

      Some or all of plaintiff’s state-law claims against Officer Smith are barred

by the statutory immunity established by section 6-5-338 of the Alabama Code.

                          Fifteenth Affirmative Defense

      Some or all of plaintiff’s state-law claims against Officer Smith are barred

by the common-law discretionary-function immunity embodied by section 895D of

the RESTATEMENT (SECOND) OF TORTS.

                          Sixteenth Affirmative Defense

      Some or all of plaintiff’s state-law claims against Officer Smith are barred

by the combined effect of state-agent immunity (including statutory discretionary-

function immunity established by section 6-5-338 of the Alabama Code and

                                          9
       Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 10 of 13




common-law discretionary function immunity embodied by section 895D of the

RESTATEMENT (SECOND) OF TORTS).

                          Seventeenth Affirmative Defense

       All uses of force by Officer Smith with regard to the matters at issue in this

case were reasonable, necessary, and justified under the circumstances confronting

Officer Smith at the time.

                           Eighteenth Affirmative Defense

       Any and all actions of Officer Smith, to the extent at issue in this case, were

lawful under section 13A-3-22 of the Alabama Code.

                           Nineteenth Affirmative Defense

       To the extent he has not been properly appointed as the personal

representative of Barnes’ estate, plaintiff lacks standing and/or is not the real party

in interest to bring this action.

                           Twentieth Affirmative Defense

       Under section 6-5-462 of the Alabama Code, plaintiff lacks authority to

assert any claims on behalf of the estate of Barnes, to the extent he has not been

properly appointed as the personal representative of Barnes’ estate.

                          Twenty-First Affirmative Defense

       All uses of force by Officer Smith with regard to the matters at issue in this

case were authorized by section 13A-3-23 of the Alabama Code.

                                          10
       Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 11 of 13




                       Twenty-Second Affirmative Defense

      Plaintiff’s claim under 42 U.S.C. § 1983, to the extent predicated upon an

alleged excessive use of force, is barred because Officer Smith used only that

degree of force which was reasonable, necessary, and justified under the

circumstances confronting Officer Smith at the time.

                       Twenty-Third Affirmative Defense

      All uses of force by Officer Smith with regard to the matters at issue in this

case were justified in order to terminate a dangerous high-speed car chase that

threatened the lives of bystanders, other officers, and/or Officer Smith.

      Officer Smith reserves the right to assert additional defenses as discovery

progresses in this case. To the extent that any of the allegations in the complaint

have not been expressly admitted or denied, they are hereby denied and strict proof

of each such allegation is hereby demanded.




                                         11
     Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 12 of 13




                                   S/Ryan G. Blount
                                   Ryan G. Blount (ASB-8169-Y53B)
                                   Allen L. Anderson (ASB-5940-R75A)

                                   Attorneys for defendant Bryan Smith

OF COUNSEL:

F&B LAW FIRM, P.C.
213 Greene Street
Huntsville, Alabama 35801
Telephone Number: (256) 536-0095
Facsimile Number: (256) 536-4440
E-mail: court@fb-pc.com




                                    12
      Case 5:18-cv-00929-MHH Document 17 Filed 10/29/18 Page 13 of 13




                         CERTIFICATE OF SERVICE

       I hereby certify that on the 29th day of October, 2018, I electronically filed
the foregoing with Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:

HENRY F. SHERROD, III
HENRY F. SHERROD III, P.C.
119 South Court Street
Florence, Alabama 35631-0606
Telephone Number: (256) 764-4141
Facsimile Number: (877) 684-0802
E-mail: hank@alcivilrights.com

EVAN A. WALDEN
MATTHEW L. WALDEN
WALDEN BLAIR & ASSOCIATES,
PLLC
1891 Ingleside Avenue, Suite 150
Post Office Box 1764
Athens, Tennessee 37371
Telephone Number: (423) 453-5534
Facsimile Number: (423) 453-5794
E-mail: evan@waldenblairlaw.com
        mwaldenlaw@gmail.com

Attorneys for plaintiff Michael Barnes,
personal representative of the estate of
Gabriel Sage Barnes


                                       S/Ryan G. Blount
                                       Ryan G. Blount




                                         13
